Case 1:18-cr-20953-MGC Document 81 Entered on FLSD Docket 12/1

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ANGELA E. NOBLE
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S. D. OF FLA. - MIAMI

 

D.c.]

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 18-20953-CR-COOKE(s)
18 U.S.C. § 241
18 U.S.C. § 242
18 U.S.C. § 1001
18 U.S.C. § 2

UNITED STATES OF AMERICA,
v.

TERRANCE REYNOLDS,

Defendant.
/

 

SUPERSEDING INDICTMENT

The Grand Jury charges that:

GENERAL ALLEGATIONS

At all times relevant to this Superseding Indictment:

1. The Florida Department of Corrections (hereinafter “FDOC”) was a department
within the State of Florida responsible for operating and overseeing approximately one hundred
and forty (140) correctional facilities.

2. The South Florida Reception Center (hereinafter “SFRC”) was a prison facility
operated by the FDOC and located in Miami-Dade County, Florida, in the Southern District of
Florida.

3. Inmates incarcerated in the FDOC may be classified as Youthful Offenders by a
court if the crime for which they are being sentenced to incarceration was committed prior to their

twenty-first birthday. Inmates may also be classified as Youthful Offenders by the FDOC if they

 

 
 

 

 

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are twenty-four years old or younger.

4. SFRC incarcerated inmates in several separate buildings, commonly referred to as
dormitories. The B-Dormitory, also known as “Bravo” Dormitory, was composed of three quads
— Quads One, Two, and Three — and was designated to house only Youthful Offender inmates in
order to protect them from adult inmates incarcerated at SFRC. Video security cameras were
located inside the common area of Quad One of Bravo Dormitory.

5. A room with a locked door located on the outside wall of Quad One was used to
store push brooms, mops, and other cleaning equipment. This room, also known as the “mop
closet,” was not equipped with, or within view of, video security cameras.

6. The E-Dormitory at SFRC, also known as “Echo” Dormitory, is used to place
inmates in solitary confinement. Correctional officers, with supervisory approval, place inmates
in confinement as a means of punishment for misbehavior, such as being disruptive or disrespectful
to correctional officers. Along the outside wall of Echo Dormitory was a room known as the
“disciplinary review” (“D.R.”) room. The D.R. room was not equipped with, or within view of,
video security cameras.

7. Brendan Butler was employed by the FDOC as a Sergeant at SFRC. His
responsibilities included being a member of the Security 9 team, a small unit whose members were
not assigned to work in a particular dormitory but instead provided internal security and performed
other functions in the common areas of SFRC, including the recreational area and the cafeteria.

8. TERRANCE REYNOLDS was employed by the FDOC as a correctional officer
assigned to the Security 9 team at SFRC.

9. Y.O. 1 was a youthful offender housed in Quad One of Bravo Dormitory.

10. Y.O.2 was a youthful offender housed in Quad One of Bravo Dormitory.
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11. Y.O.3 was a youthful offender housed in Quad One of Bravo Dormitory on March
27, 2017, and was transferred to Echo Dormitory on March 28, 2017.

COUNT ONE
(Conspiracy against Rights: 18 U.S.C. § 241)

1, Paragraphs one through eleven of the General Allegations section are re-alleged
and incorporated by reference as though fully set forth herein.
2. From on or about March 27, 2017, and continuing through on or about March 28,
2017, in Miami-Dade County, in the Southern District of Florida and elsewhere, the defendant,
TERRANCE REYNOLDS,
and Brendan Butler, while acting under color of law, willfully combined, conspired, and agreed
with each other, to injure, oppress, threaten, and intimidate Youthful Offender inmates being held
at the South Florida Reception Center, including Y.O. 1, Y.O. 2, and Y.O. 3, in the free exercise
and enjoyment of rights and privileges secured to them by the Constitution and laws of the United
States, namely the right to be free from cruel and unusual punishment.
Purpose of the Conspiracy
The purpose of the conspiracy was to use excessive force and the threat of such force to
physically assault and intimidate youthful offenders as punishment for conduct perceived to be
unacceptably disruptive and disrespectful.
Overt Acts
In furtherance of the conspiracy, and to accomplish its objectives, one or more of the co-
conspirators committed at least one of the following overt acts, among others, in the Southern
District of Florida:
1. On or about March 27, 2017, TERRANCE REYNOLDS talked to Brendan Butler

about going to Bravo Dormitory to address a problem concerning three Youthful Offenders who

 
 

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had been disrespectful that morning to the two female correctional officers assigned to work in
Bravo Dormitory.

2. On or about March 27, 2017, TERRANCE REYNOLDS and Brendan Butler
entered Quad One of Bravo Dormitory.

3. On or about March 27, 2017, TERRANCE REYNOLDS and Brendan Butler
participated in a conversation with correctional officers assigned to Bravo Dormitory in order to
learn the identities of the Youthful Offenders who had allegedly been disruptive that morning.

4. On or about March 27, 2017, TERRANCE REYNOLDS and Brendan Butler
instructed Y.O. 1, Y.O. 2, and Y.O. 3 to walk to an area outside of Quad 1, then followed the three
Youthful Offenders and took them into the mop closet.

5. On or about March 27, 2017, TERRANCE REYNOLDS and Brendan Butler
forcibly assaulted Y.O. 1 inside the mop closet by striking Y.O. 1 with both a stick and their fists,
causing bodily injury to Y.O. 1, while Y.O. 2 and Y.O 3 remained in the immediate vicinity.

6. On or about March 28, 2017, TERRANCE REYNOLDS and Brendan Butler
agreed to visit Echo Dormitory to see Y.O. 3, who had been transferred from Bravo Dormitory
earlier that day for being disrespectful to a correctional officer that morning.

7. On or about March 28, 2017, TERRANCE REYNOLDS and Brendan Butler took
custody of Y.O. 3 at Echo Dormitory and told him to go into the disciplinary review room.

8. On or about March 28, 2017, while inside the disciplinary review room,
TERRANCE REYNOLDS and Brendan Butler told Y.O. 3 they knew that Y.O. 3 had been
talking about the previous day’s assault on Y.O. 1 and had been disrespectful to a correctional
officer that morning.

9, On or about March 28, 2017, while inside the disciplinary review room,
 

 

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TERRANCE REYNOLDS and Brendan Butler forcibly assaulted Y.O. 3 by taking turns
punching him, causing bodily injury.
All in violation of Title 18, United States Code, Section 241.

COUNT TWO
(Deprivation of Rights Under Color of Law: 18 U.S.C. § 242)

l. Paragraphs one through eleven of the General Allegations section are re-alleged
and incorporated by reference as though fully set forth herein.

2. On or about March 27, 2017, in Miami-Dade County, in the Southern District of
Florida, the defendant,

TERRANCE REYNOLDS,

while acting under color of law, assaulted Y.O. 1, thereby willfully depriving Y.O. 1 of the right,
secured and protected by the Constitution and the laws of the United States, to be free from cruel
and unusual punishment by a person acting under color of law. It is further alleged that the assault
resulted in bodily injury to Y.O. 1, and that the assault included the use, attempted use, and
threatened the use of a dangerous weapon, to wit, a stick.

In violation of Title 18, United States Code, Sections 242 and 2.

COUNT THREE
(Deprivation of Rights Under Color of Law: 18 U.S.C. § 242)

1. Paragraphs one through eleven of the General Allegations section are re-alleged
and incorporated by reference as though fully set forth herein.
2. On or about March 28, 2017, in Miami-Dade County, in the Southern District of
Florida, the defendant,
TERRANCE REYNOLDS,

while acting under color of law, assaulted Y.O. 3, thereby willfully depriving Y.O. 3 of the right,
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secured and protected by the Constitution and the laws of the United States, to be free from cruel
and unusual punishment by a person acting under color of law. It is further alleged that the assault
resulted in bodily injury to Y.O. 3.

In violation of Title 18, United States Code, Sections 242 and 2.

COUNT FOUR
(False Statement to a Federal Agency: 18 U.S.C. § 1001)

1. Paragraphs one through eleven of the General Allegations section are re-alleged
and incorporated by reference as though fully set forth herein.

2. On or about December 21, 2017, in Broward County, in the Southern District of
Florida, in a matter within the jurisdiction of the Federal Bureau of Investigation, an agency of the
executive branch of the United States Government, the defendant,

TERRANCE REYNOLDS,
did knowingly and willfully make a false, fictitious, and fraudulent statement and representation
as to a material fact, in that the defendant, upon being advised of the allegations surrounding the
March 27, 2017 physical altercation involving Y.O. 1 within the Bravo Dormitory mop closet,
stated that he had never witnessed a beating in the mop closet when, in truth and in fact, and as the
defendant then and there well knew, he had witnessed a beating in the mop closet.

In violation of Title 18, United States Code, Section 1001.

COUNT FIVE
(False Statement to a Federal Agency: 18 U.S.C. § 1001)

1. Paragraphs one through eleven of the General Allegations section are re-alleged
and incorporated by reference as though fully set forth herein.
2. On or about December 21, 2017, in Broward County, in the Southern District of

Florida, in a matter within the jurisdiction of the Federal Bureau of Investigation, an agency of the

 
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executive branch of the United States Government, the defendant,

TERRANCE REYNOLDS,

did knowingly and willfully make a false, fictitious, and fraudulent statement and representation

as to a material matter, in that the defendant, upon being advised of the allegations surrounding

the March 28, 2017 altercation with Y.O. 3 at Echo Dormitory, stated that he was not present at

Echo Dormitory on March 28, 2017, and had no contact with Y.O. 3 on that date when, in truth

and in fact, and as the defendant then and there well knew, he was present at Echo Dormitory on

March 28, 2017, and had contact with Y.O. 3 on that date.

In violation of Title 18, United States Code, Section 1001.

Respectfully Submitted,

\Gaurd Mick \

ARIANA FAJARDO ORSHAN \
UNITED STATES ATTORNEY

 

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BRIAN DOBBINS
ASSISTANT U.S. ATTORNEY

    

AT

FOREPERS

ERIC S. DREIBAND

ASSISTANT ATTORNEY GENERAL
U.S. DEPARTMENT OF JUSTICE
CIVIL RIGHTS DIVISION

A. ZY

£5, SAMANTHA TREPEL
TRIAL ATTORNEY
 

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UNITED STATES OF AMERICA CASE NO. 18-20953-CR-COOKE(s)

Vv.

CERTIFICATE OF TRIAL ATTORNEY*

TERRANCE REYNOLDS

Defendant.

 

/ Superseding Case Information:
Court Division: (Select One) New Defendant(s) Yes No xX
Number of New Defendants 0
x Miami Key West Total number of counts 5
FTL WPB FTP
I do hereby certify that:

lL.

I have carefully considered the allegations of the indictment, the number of defendants, the number
of probable witnesses and the legal complexities of the Indictment/Information attached hereto.

 

 

 

2. I am aware that the information supplied on this statement will be relied upon by the Judges of this
Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
Act, Title 28 U.S.C. Section 3161.

3. Interpreter: (Yes or No) No
List language and/or dialect

4, This case will take 10 days for the parties to try.

5. Please check appropriate category and type of offense listed below:
(Check only one) (Check only one)

I 0 to 5 days Petty

i 6 to 10 days x Minor

ll 11 to 20 days Misdem.

IV 21 to 60 days Felony xX

Vv 61 days and over

6. Has this case been previously filed in this District Court? (YesorNo) Yes

If yes:

Judge: COOKE Case No. 18-20953-CR-COOKE

(Attach copy of dispositive order)

Has a complaint been filed in this matter? (Yes or No) No

If yes:

Magistrate Case No.

Related Miscellaneous numbers:
Defendant(s) in federal custody as of
Defendant(s) in state custody as of
Rule 20 from the District of

 

 

 

 

Is this a potential death penalty case? (Yes or No) No

Does this case originate from a matter pending in the Northern Region of the U.S. Attorney’s Office
prior to October 14, 2003? Yes No_X

Does this case originate from a matter pending in the Central Region of the U.S. Attorney’s Office
prior to September 1, 2007? Yes No xX

Qo ~ 7LE~

BRIAN DOBBINS
ASSISTANT UNITED STATES ATTORNEY
Court I.D. No. A5501182

 

*Penalty Sheet(s) attached REV 4/8/08
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET
Defendant's Name: TERRANCE REYNOLDS
Case No: 18-20953-CR-COOKE(s)
Count #: |
Conspiracy against Rights

Title 18, United States Code, Section 241

 

*Max. Penalty: 10 years’ Imprisonment

 

Count #: 2-3

Deprivation of Rights Under Color of Law

 

Title 18, United States Code, Sections 242 and 2

*Max. Penalty: 10 years’ Imprisonment

 

Count #: 4-5

False Statement to a Federal Agency

 

Title 18, United States Code, Section 1001

Max. Penalty: 5 years’ Imprisonment

 

* Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.

 
